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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                 :   Chapter 11
                                                       :
          WATERLINK, INC.                              :
                                                       :
                                                       :   Case No. 03-11989 (MFW)
                                                       :
               Debtors.                                :       (Jointly Administered)

                        NOTICE OF SUBSTITUTION OF COUNSEL

         PLEASE TAKE NOTICE that undersigned counsel, with the address and contact

information listed below, should be substituted for David L. Buchbinder, Esq. as counsel of

record for the United States Trustee for Region 3 in the above-captioned case, and should be

added to all service lists, including the Court’s electronic notification list, in the above-captioned

case:

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                                               Respectfully submitted,

                                               ANDREW R. VARA
                                               UNITED STATES TRUSTEE
                                               Region 3

Dated: August 15, 2022                   BY: /s/ Timothy J. Fox
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